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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

NDUWIMANA APOLLINAIRE,

                                      Petitioner,                      Case # 19-CV-6285-FPG

v.
                                                                       DECISION AND ORDER
WILLIAM BARR, et al.,

                                      Respondents.


       Pro se Petitioner Nduwimana Apollinaire brought this petition for a writ of habeas corpus

pursuant to 28 U.S.C. § 2241, challenging his continued detention at the Buffalo Federal Detention

Facility. ECF No. 1. The government opposes the petition. ECF No. 5. Having reviewed the

record and the briefing, the Court finds that a hearing is unnecessary to resolve the petition. For

the reasons that follow, the petition is GRANTED IN PART and DENIED IN PART.

                                        BACKGROUND

       The following facts are taken from the record. Petitioner is a native and citizen of Burundi.

On May 26, 2017, he was admitted into the United States on a non-immigrant visa. ECF No. 5-2

at 2. Two days later, Petitioner unsuccessfully applied for asylum in Canada at the Canadian

border. Id. at 2-3. When he was returned to the United States, Customs and Border Patrol detained

Petitioner and initiated removal proceedings based on his alleged fraud—namely, falsely claiming

that he was visiting the United States to attend a religious conference. ECF No. 5-3 at 23; see also

8 U.S.C. § 1182(a)(6)(C)(i) (stating that any alien who fraudulently misrepresents a material fact

to procure a visa is inadmissible).

       On December 7, 2017, an immigration judge denied Petitioner’s applications for relief

from removal and ordered him removed. ECF No. 5-3 at 17. Petitioner appealed the order, and

on May 9, 2018, the Board of Immigration Appeals dismissed his appeal. Petitioner then appealed


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his removal order to the Second Circuit, where it remains pending. The Second Circuit has stayed

Petitioner’s removal.

        Petitioner has been in immigration custody since May 28, 2017. Id. at 20. Immigration

authorities have reviewed Petitioner’s custody on four occasions: August 2017, January 2018,

August 2018, and October 2018. At his first review, an immigration judge determined that

Petitioner could be released from custody on a $12,000 bond. See id. at 19. However, Petitioner

claims he could not afford the bond, so he remained in detention. See ECF No. 6 at 3. Immigration

authorities declined to release Petitioner at subsequent reviews.

        On April 16, 2019, Petitioner filed the present action. He has now been detained by

immigration authorities for almost 25 months.

                                              DISCUSSION

        Petitioner argues that, as a matter of procedural due process, he is entitled to a bond hearing

wherein the government bears the burden of justifying his detention by clear and convincing

evidence based on risk of flight or dangerousness. 1 The Court agrees.

        In several provisions, the Immigration and Nationality Act (“INA”) authorizes the

detention of aliens pending removal. Relevant here is 8 U.S.C. § 1226, which gives immigration

officials the authority to arrest and detain an alien “pending a decision on whether the alien is to

be removed from the United States.” 8 U.S.C. § 1226(a). In other words, “section 1226 governs

the detention of immigrants who are not immediately deportable.” Hechavarria v. Sessions, 891

F.3d 49, 57 (2d Cir. 2018). This includes aliens, like Petitioner, whose removal is stayed pending

appeal. See id. While Section 1226(a) permits immigration authorities to release aliens pending

the completion of removal proceedings, Jennings v. Rodriguez, 138 S. Ct. 830, 837 (2018),




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 Petitioner also raises other grounds, but the Court need not address them in light of its disposition of this
claim. See ECF No. 1 at 16-18.
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immigration authorities require the alien, not the government, to prove that release is justified, i.e.,

that he is not a risk of flight or danger to the community. See Hemans v. Searls, No. 18-CV-1154,

2019 WL 955353, at *9 (W.D.N.Y. Feb. 27, 2019); Darko v. Sessions, 342 F. Supp. 3d 429, 433

(S.D.N.Y. 2018).

       The question is whether this scheme is constitutional as applied to Petitioner. To determine

whether an alien’s due process rights have been violated as a result of his continued detention

under Section 1226, the Court first evaluates whether the “alien [has been] held for an

unreasonably long period.” Frederick v. Feeley, No. 19-CV-6090, 2019 WL 1959485, at *2

(W.D.N.Y. May 2, 2019) (discussing in context of detention under 8 U.S.C. § 1226(c)); see also

Hemans, 2019 WL 955353, at *5. If the alien has been detained for an unreasonably long period,

the Court proceeds to analyze whether the alien has received sufficient process to justify his

continued detention. Hemans, 2019 WL 955353, at *5.

       Applying this framework, the Court concludes that Petitioner is entitled to relief.

       First, Petitioner’s detention has been unreasonably prolonged. He has been detained for

over two years. On its face, this is a significant factor favoring Petitioner; indeed, courts have

granted relief to aliens who have been detained for far shorter periods. See, e.g., Hemans, 2019

WL 955353, at *6 (noting that detention lasting two years and three months “weigh[ed] heavily in

[the petitioner’s] favor”); see also Dutt v. Nielsen, No. 19-CV-155, ECF No. 21 at 4 (W.D.N.Y.

May 7, 2019) (collecting cases for proposition that fifteen-month detention is “beyond the point at

which courts find detention unreasonably prolonged”).

       Furthermore, this delay appears to be attributable to the normal administrative and appeals

process. Although Petitioner has filed timely appeals of his order of removal—which inevitably

extended his detention—Respondents do not suggest that he has abused the processes available to

him or otherwise maliciously delayed proceedings. This is significant, as the Second Circuit has


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made a distinction between aliens who have “substantially prolonged [their] stay by abusing the

processes provided to [them]” and those who have “simply made use of the statutorily permitted

appeals process.” Hechavarria v. Sessions, 891 F.3d 49, 56 n.6 (2d Cir. 2018). In other words,

pursuit of relief from removal “does not, in itself, undermine a claim that detention is unreasonably

prolonged.” Brissett v. Decker, 324 F. Supp. 3d 444, 453 (S.D.N.Y. 2018); see also Hemans, 2019

WL 955353, at *6. Thus, contrary to Respondents’ suggestion, the mere fact that Petitioner

pursued “a stay of his removal” and sought “appeals of adverse agency decisions” does not bar

him from relief. ECF No. 5-1 at 7. Accordingly, Petitioner has passed the first step.

       Second, the process that Petitioner has been afforded is constitutionally inadequate. While

immigration authorities place the burden on the alien to prove that he should be released, due

process requires more. Specifically, the “consensus view” is that due process requires the

government, not the alien, to prove continued detention is justified by clear and convincing

evidence. Darko, 342 F. Supp. 3d at 435 (collecting cases); see also Martinez v. Decker, No. 18-

CV-6527, 2018 WL 5023946, at *5 (S.D.N.Y. Oct. 17, 2018). Therefore, because Petitioner’s

detention has been unreasonably prolonged, and because he has not yet been afforded a

constitutionally adequate bond hearing, his continued detention violates his due process rights.

He is entitled to relief in the form of a bond hearing with proper procedural safeguards.

       However, purely as a procedural matter, the Court agrees with Respondents that the only

proper respondent is Jeffrey Searls, the Assistant Field Office Director of the ICE Buffalo Field

Office. See ECF No. 5-1 at 1 n.2. As the “person with direct control” over Petitioner’s detention,

id., he is the proper respondent given Petitioner’s requested relief. See Hassoun v. Sessions, No.

18-CV-586, 2019 WL 78984, at *7 (W.D.N.Y. Jan. 2, 2019) (“The majority view in the Second

Circuit requires the immediate custodian, generally the prison warden, to be named as a respondent




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in core immigration habeas proceedings—i.e., those challenging present physical confinement.”

(quotation omitted)).

                                         CONCLUSION

       For the foregoing reasons, Petitioner is entitled to habeas relief under 28 U.S.C. § 2241 and

the petition (ECF No. 1) is GRANTED IN PART and DENIED IN PART. The petition is granted

against Respondent Searls and is denied with respect to the remaining respondents.

       By July 8, 2019, Respondent Searls shall hold a bond hearing for Petitioner before an

immigration judge, at which the government bears the burden of proving by clear and convincing

evidence that Petitioner’s continued detention is justified based on risk of flight or danger to the

community. If a bond hearing is not held by July 8, 2019, Respondent Searls shall release

Petitioner immediately with appropriate conditions of supervision. By July 10, 2019, Respondent

Searls shall file a notice with this Court certifying either (1) that a bond hearing was held by the

applicable deadline, and the outcome thereof, or (2) that no bond hearing was held and that

Petitioner was released with appropriate conditions of supervision. The Clerk of Court is directed

to enter judgment and close this case.

       IT IS SO ORDERED.

Dated: June 25, 2019
       Rochester, New York

                                                     ______________________________________
                                                     HON. FRANK P. GERACI, JR.
                                                     Chief Judge
                                                     United States District Court




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